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                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF CALIFORNIA

                                  MEMORANDUM


Honorable Morrison C. England, Jr.
United States District Judge
Sacramento, California

                                           RE:    N. Allen SAWYER
                                                  Docket Number: 2:02CR00468-04
                                                  PERMISSION TO TRAVEL
                                                  OUTSIDE THE COUNTRY

Your Honor:

The releasee is requesting permission to travel to Hong Kong, China. He is current with
all supervision obligations, and he completed his term of home detention on August 24,
2006. The probation officer recommends approval be granted.


Conviction and Sentencing Date: On June 7, 2005, the releasee was sentenced for the
offense of 18 USC 1341 and 1346 - Honest Services Mail Fraud.


Sentence Imposed: 6 months custody of the Bureau of Prisons; 36 months Supervised
Release; $100 Special Assessment; $20,000 Fine. Special Conditions: Warrantless
search; Financial access; No new debt/credit; Home confinement with electronic
monitoring; Not to dispose of assets without approval from probation officer.


Dates and Mode of Travel: November into December, 2007, via Cathay Pacific Airways
in San Francisco, California. The probation officer will review the releasee’s specific travel
information prior to issuance of a travel permit if Court approval is granted.


Purpose: Releasee is to attend a development business meeting, and to inspect the
development project site.




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RE:    N. Allen SAWYER
       Docket Number: 2:02CR00468-04
       PERMISSION TO TRAVEL OUTSIDE THE COUNTRY



                               Respectfully Submitted,


                                /s/ George A. Vidales
                               GEORGE A. VIDALES
                           United States Probation Officer

DATED:       October 22, 2007
             Elk Grove, California
             GAV/cj


REVIEWED BY:       /s/ Deborah A. Spencer
                   DEBORAH A. SPENCER
                   Supervising United States Probation Officer



ORDER OF THE COURT:

Approved                                     Disapproved XXX

The Court requires specific information re the dates and necessity for the proposed
international travel.

 Dated: October 24, 2007


                                       ______________________________
                                       MORRISON C. ENGLAND, JR.
                                       UNITED STATES DISTRICT JUDGE




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                                         2           T R AV E L ~ O U T S ID E C O U N T R Y C O U R T ME M O .M R G
